Case 2:23-cv-10169-SPG-ADS     Document 1    Filed 12/04/23   Page 1 of 41 Page ID
                                     #:1

 1   C. D. Michel – SBN 144258
     cmichel@michellawyers.com
 2   Joshua Robert Dale – SBN 209942
     jdale@michellawyers.com
 3   Konstadinos T. Moros – SBN 306610
     kmoros@michellawyers.com
 4   Alexander A. Frank – SBN 311718
     afrank@michellawyers.com
 5   MICHEL & ASSOCIATES, P.C.
     180 E. Ocean Blvd., Suite 200
 6   Long Beach, CA 90802
     Telephone: (562) 216-4444
 7
     Attorneys for Plaintiffs California Rifle & Pistol Association, Incorporated, Gun
 8   Owners of America, Inc., Gun Owners Foundation, Gun Owners of California, Inc.,
     Erick Velasquez, Charles Messel, Brian Weimer, Clarence Rigali, Keith Reeves,
 9   Cynthia Gabaldon, and Stephen Hoover
10   Additional Counsel listed on the next page.
11                       UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13    CALIFORNIA RIFLE & PISTOL                    CASE NO:
      ASSOCIATION, INCORPORATED;
14    THE SECOND AMENDMENT                         COMPLAINT FOR
      FOUNDATION; GUN OWNERS OF                    DECLARATORY AND
15    AMERICA, INC.; GUN OWNERS                    INJUNCTIVE RELIEF
      FOUNDATION; GUN OWNERS OF
16    CALIFORNIA, INC.; ERICK                      42 U.S.C. §§ 1983 & 1988
      VELASQUEZ, an individual; CHARLES
17    MESSEL, an individual; BRIAN
      WEIMER, an individual; CLARENCE
18    RIGALI, an individual; KEITH
      REEVES, an individual, and CYNTHIA
19    GABALDON, an individual; STEPHEN
      HOOVER, an individual,
20
                         Plaintiffs,
21
                  v.
22
      LOS ANGELES COUNTY SHERIFF’S
23    DEPARTMENT; SHERIFF ROBERT
      LUNA, in his official capacity; LA
24    VERNE POLICE DEPARTMENT; LA
      VERNE CHIEF OF POLICE COLLEEN
25    FLORES, in her official capacity;
      ROBERT BONTA, in his official
26    capacity as Attorney General of the State
      of California; and DOES 1-10,
27
                         Defendants.
28

                                   1
             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS   Document 1   Filed 12/04/23   Page 2 of 41 Page ID
                                   #:2


 1
     Donald Kilmer-SBN 179986
 2   Law Offices of Donald Kilmer, APC
     14085 Silver Ridge Road
 3   Caldwell, Idaho 83607
     Telephone: (408) 264-8489
 4   Email: Don@DKLawOffice.com
 5   Attorney for Plaintiff The Second Amendment Foundation
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                  2
            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1     Filed 12/04/23   Page 3 of 41 Page ID
                                      #:3


 1         NOW COME Plaintiffs California Rifle & Pistol Association, Incorporated,
 2   The Second Amendment Foundation, Gun Owners of America, Inc., Gun Owners
 3   Foundation, Gun Owners of California, Inc., Erick Velasquez, Charles Messel,
 4   Brian Weimer, Clarence Rigali, Keith Reeves, Cynthia Gabaldon, and Stephen
 5   Hoover and, through their respective counsel, bring this action against Defendants
 6   Los Angeles County Sheriff’s Department, Sheriff Robert Luna in his official
 7   capacity as Los Angeles County Sheriff, La Verne Police Department, La Verne
 8   Chief of Police Colleen Flores, California Attorney General Robert Bonta in his
 9   official capacity, and Does 1-10, inclusive, and make the following allegations:
10                                    INTRODUCTION
11         1.     This action challenges the constitutionality of carry permit issuance
12   policies and laws that make it extremely difficult, if not outright impossible or
13   impermissibly time consuming, for Plaintiffs to obtain permits to carry a concealed
14   firearm in public and therefore to exercise their right to be armed in public, as
15   guaranteed by the Second Amendment’s text “bear arms,” and as recognized by the
16   Supreme Court in New York State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct.
17   2111 (2022).
18         2.     The main policies that Plaintiffs target here are: 1) Defendants’ failure
19   to timely process carry permit applications, 2) the grossly excessive fees
20   Defendants are charging to process permit applications and satisfy various permit
21   requirements, 3) the use of highly subjective suitability criteria in evaluating
22   applicants, and 4) the refusal to honor permits issued by other states. These
23   practices and policies, some of which are enabled by state law, violate the Second
24   and Fourteenth Amendments.
25         3.     Some Constitutional rights have a preliminary step required before
26   their exercise, such as permitting (e.g., parades, demonstrations) or registration
27   (e.g., voting, lobbying). But the administration of such permits or registration
28   requirements may not be so onerous as to exclude whole demographics due to
                                   3
             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS       Document 1     Filed 12/04/23    Page 4 of 41 Page ID
                                       #:4


 1   expense or subjectivity, nor may it force them to wait inordinate amounts of time. 1
 2         4.      In anticipation of bad-faith efforts to obstruct its ruling in recalcitrant
 3   jurisdictions, the Bruen Court expressly invited challenges such as this one, noting
 4   that, “because any permitting scheme can be put toward abusive ends, we do
 5   not rule out constitutional challenges to shall-issue regimes where, for
 6   example, lengthy wait times in processing license applications or exorbitant
 7   fees deny ordinary citizens their right to public carry.” Id. (emphasis added).
 8         5.      The policies that Plaintiffs challenge have gone far beyond “abus[ing]”
 9   constitutional rights. Defendants have flat-out denied Plaintiffs their rights to be
10   armed outside of their homes by establishing an onerous permitting regime replete
11   with exorbitant poll tax-like fees, egregious wait times lasting well over a year, and
12   nefarious discretionary requirements designed to flout the Supreme Court’s
13   precedents.
14         6.      This suit challenges whether Defendants are engaged in a permit
15   process that subjects applicants seeking to lawfully carry for self-defense in
16   California by the only manner allowed under law—with a concealed carry weapons
17   permit (“CCW permit”) issued by a local jurisdiction, to excessive wait times,
18   exorbitant fees, and suitability criteria that are unnecessary, burdensome, and
19
20
           1
             It has long been established that a State may not impose a penalty upon
21   those who exercise a right guaranteed by the Constitution. Frost & Frost Trucking
     Co. v. Railroad Comm'n of California, 271 U.S. 583, 593-94 (1926).
22   “Constitutional rights would be of little value if they could be . . . indirectly denied”
     (Smith v. Allwright, 321 U.S. 649, 664 (1944)), or “manipulated out of existence.”
23   Gomillion v. Lightfoot, 364 U.S. 339, 345 (1960). “Significantly, the Twenty-
     Fourth Amendment does not merely insure that the franchise shall not be ‘denied’
24   by reason of failure to pay the poll tax; it expressly guarantees that the right to vote
     shall not be ‘denied or abridged’ for that reason.” Harman v. Forssenius, 380 U.S.
25   528, 540 (1965) (citation omitted). Thus, like the Fifteenth Amendment, the
     Twenty-Fourth “nullifies sophisticated as well as simple-minded modes” of
26   impairing the right guaranteed. Lane v. Wilson, 307 U.S. 268, 275 (1939). “ ‘It hits
     onerous procedural requirements which effectively handicap exercise of the
27   franchise by those claiming the constitutional immunity.’ ” Harman, 380 U.S. at
     540-41 (citations omitted), quoting Lane, at 275.
28
                                     4
               COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1     Filed 12/04/23   Page 5 of 41 Page ID
                                      #:5


 1   subjective; and whether those permit processes violate the right to bear arms in
 2   public as explained by the Supreme Court in Bruen. Examples abound.
 3         7.     For starters, Los Angeles County Sheriff’s Department (“LASD”)
 4   admits that it takes “a year to a year and a half” to process CCW applications.
 5         8.     While the La Verne Police Department’s (“LVPD”) permit application
 6   processing wait time is not as severe as LASD’s, its application process is cost
 7   prohibitive. Applicants pay between $900 to $1100 depending on the varying costs
 8   that third parties charge for the mandatory training course and live scan services.
 9   And even after obtaining a permit, LVPD even charges over $500 for renewal
10   applications every two years ($250 per year to exercise an enumerated right).
11         9.     In stark contrast, applicants in other California counties can avoid high
12   local-municipality fees by applying with their county’s sheriff’s department instead
13   of the city where they reside, as California law provides — But LASD Sheriff Luna
14   has refused to process CCW permit applications for Los Angeles County residents
15   who live in one of that county’s many distinct “non-contract” municipalities.
16         10.    Because La Verne is a “non-contract” city, residents who want to
17   exercise their right to carry have no alternative; they must pay LVPD’s exorbitant
18   fees if they wish to lawfully carry a concealed firearm.
19         11.    Additionally, both LASD and LVPD impose subjective permit-
20   issuance criteria, in open defiance of Bruen which rejected such unmoored
21   standards for determining who gets the privilege of exercising an enumerated right
22   For example, LVPD subjects applicants to an invasive psychological examination.
23   This absurd policy is an outlier, even in California.
24         12.    Yet under Senate Bill 2 (“SB 2”), effective January 2024, issuing
25   authorities that opt to require the psychological exam may charge the applicant the
26   actual cost of the exam. Whereas under prior law, that expense was capped at $150,
27   and left the issuing authority responsible for paying the balance if it chose to
28   require an examination, now the full cost will be borne by the applicant.
                                   5
             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1     Filed 12/04/23     Page 6 of 41 Page ID
                                      #:6


 1         13.    LASD’s adopted policies in issuing and renewing CCW permits also
 2   include impermissible subjective criteria, including punishing victims of crimes.
 3         14.    Even if Plaintiffs wanted to avoid delay, expense, and suitability
 4   requirements from LASD and LVPD by simply obtaining a carry permit from
 5   another state, as some of these Plaintiffs have done, California does not honor
 6   permits issued by any other state.
 7         15.    In fact, nonresidents have no way to lawfully carry firearms in
 8   California, even if they are willing to apply to a California issuing authority for a
 9   permit, because California law does not permit in-state issuing authorities to issue
10   permits to nonresidents.
11         16.    This is plainly unconstitutional under both Bruen and the precedent
12   established in Obergefell v. Hodges, 576 U.S. 644, 648 (2015). If California must
13   honor a broad right to marry, which is unenumerated, then it must also honor the
14   right to carry firearms, which is enumerated.
15         17.    Separately from Plaintiffs’ Second Amendment claim, the United
16   States Supreme Court has consistently held that regulations and classifications that
17   impose a penalty or an impermissible burden on the right to travel violate the Equal
18   Protection Clause of the Fourteenth Amendment, unless absolutely necessary to
19   promote a compelling government interest. Saenz v. Roe, 526 U.S. 489 (1999);
20   Shapiro v. Thompson, 394 U.S. 618 (1969). Accordingly, California’s policy of
21   denying out-of-state residents the ability to lawfully exercise their constitutionally
22   protected right to be armed in public for self-defense inhibits the free interstate
23   passage of citizens and violates equal protection doctrines by treating Americans
24   differently merely on account of their state of residency.
25         18.    Furthermore, the Privileges and Immunities Clause of Article IV, § 2
26   of the United States Constitution provides that “The Citizens of each State shall be
27   entitled to all privileges and immunities of Citizens in the several States.” The
28   Privileges and Immunities Clause bars discrimination against citizens of other states
                                   6
             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS     Document 1      Filed 12/04/23   Page 7 of 41 Page ID
                                     #:7


 1   based on their status as a citizen of another state. Toomer v. Witsell, 334 U.S. 385
 2   (1948).
 3         19.    Plaintiffs seek to enjoin Defendants’ flagrantly unconstitutional
 4   practices and uphold Plaintiffs’ Second Amendment rights.
 5                                         PARTIES
 6         Plaintiffs
 7         20.    The individual Plaintiffs are ordinary, law-abiding, adult residents of
 8   either Los Angeles County or the City of La Verne, who have applied for CCW
 9   permits but have not received them, or have been dissuaded or prevented from
10   applying due to the high fees or the psychological examination requirement.
11         21.    The associational Plaintiffs are non-profit organizations dedicated to
12   the preservation of the Second Amendment and other enumerated constitutional
13   rights, which are representing their members and supporters who reside in Los
14   Angeles County or La Verne and have either: (1) already applied for a CCW permit
15   and are faced with a lengthy wait time; (2) would apply for a permit if not for the
16   high fees and psychological examination requirement; and/or (3) have CCW
17   permits that were issued by other states and wish to have their permits honored
18   when they visit California. Plaintiffs thus bring this action to vindicate their Second
19   Amendment rights to publicly bear arms for self-defense, including the rights of the
20   members and supporters of the associational Plaintiffs, to do so.
21         22.    The associational Plaintiffs also have members and supporters in other
22   states who have CCW permits in those states, and wish to have their permits
23   honored when they visit California. Plaintiffs thus bring this action to vindicate
24   their own Second Amendment rights to publicly bear arms for self-defense, or the
25   rights of their members and supporters to do so.
26         23.    All individual Plaintiffs are natural persons and citizens of the United
27   States and are eligible to possess firearms under state and federal law, and currently
28   own at least one firearm. Each individual Plaintiff desires to carry a firearm in
                                     7
               COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1    Filed 12/04/23   Page 8 of 41 Page ID
                                      #:8


 1   public for lawful self-defense and would do so, but for the challenged statutes,
 2   policies, and practices.
 3         24.    Plaintiff Erick Velasquez is a resident of Los Angeles County,
 4   California, and a law-abiding citizen of the United States. He is a member of
 5   Plaintiff California Rifle & Pistol Association, Incorporated (“CRPA”). Mr.
 6   Velasquez had a CCW permit issued pursuant to California Penal Code Section
 7   26150 by Los Angeles County Sheriff’s Department. He carried a handgun daily for
 8   two years, without any incident.
 9         25.    On April 10, 2023, Mr. Velasquez submitted his CCW permit renewal
10   application with Los Angeles County Sheriff’s Department, expecting a simple
11   process and quick approval given there had been no issues the last two years.
12         26.    Then, on May 3, 2023, Mr. Velasquez was the unfortunate victim of a
13   crime. A burglar broke into his vehicle and stole three handguns, along with other
14   valuables. The handguns were stored in a range bag in the locked trunk of the car,
15   in compliance with California Penal Code section 25610(a)(1).
16         27.    Mr. Velasquez promptly called the police to report the theft. An officer
17   from the Vernon Police Department arrived at the scene and took a report, which
18   noted that Mr. Velasquez was eager to have the thief brought to justice. But as of
19   this date, the perpetrator has not been found.
20         28.    On August 23, 2023, Defendant Luna denied Mr. Velasquez’s renewal
21   application. As a reason for denial, the letter had the box for “other” but provided
22   no further explanation for the denial. Seeking clarity, Mr. Velasquez eventually
23   communicated with LASD Sergeant Berner, who explained that the theft of the
24   firearms was the reason for the denial. Mr. Velasquez asked how he could appeal,
25   but Sergeant Berner told him there was no appeal process. He encouraged Mr.
26   Velasquez to apply again with the City of Downey instead, as they might not have
27   similar restrictions.
28         29.    Plaintiff Charles Messel is a resident of Los Angeles County, a law-
                                   8
             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS     Document 1     Filed 12/04/23    Page 9 of 41 Page ID
                                     #:9


 1   abiding citizen, and a member of Plaintiff CRPA. Mr. Messel submitted his CCW
 2   permit application to LASD on July 1, 2022. Having heard nothing by April 2023,
 3   he contacted the department to inquire about his application.
 4         30.    The response he received stated: “We were several months behind in
 5   opening and entering applications in our tracking system. Although you applied
 6   earlier, your application wasn’t entered into our tracking system until 11/2/22. We
 7   are currently working on applications that went into our tracking system in July of
 8   2022. Thank you for your patience.”
 9         31.    As of the filing of this action, Mr. Messel has still not been issued a
10   permit or received further communications about his application’s status from
11   LASD. More than 17 months have elapsed since his initial application.
12         32.     Plaintiff Brian Weimer is a resident of Los Angeles County, a law-
13   abiding citizen, and a member of Plaintiff CRPA. Mr. Weimer is employed by Los
14   Angeles County as a firefighter on Catalina Island.
15         33.    Like Mr. Messel, Mr. Weimer applied for a CCW permit with LASD
16   and still has not been issued one. Mr. Weimer applied in January 2023, over nine
17   months ago, but still has not been issued a permit or a denial. His constitutional
18   right to carry a firearm for self-defense has been denied to him.
19         34.    Plaintiff Clarence Rigali is a resident of La Verne, a law-abiding
20   citizen, and a member of CRPA. Mr. Rigali is 60 years old and disabled. He was a
21   Union Millwright from 1981 until 2003, when he was injured in a serious power
22   plant accident. He possesses a Utah CCW permit, which required a criminal
23   background check to obtain.
24         35.    Mr. Rigali lives in a senior citizen mobile home park. Given his fixed
25   income, the unreasonable and unjustifiable $900 to $1100 in fees and costs to apply
26   for and obtain a La Verne CCW permit exceeds his modest means and that has
27   prevented him even from applying for a permit. He has been priced out of his
28   constitutional rights.
                                   9
             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS       Document 1 Filed 12/04/23       Page 10 of 41 Page ID
                                       #:10


  1          36.     Mr. Rigali also objects to the psychological exam LVPD requires,
  2   which is an unconstitutional suitability determination. When he sustained his work-
  3   related injury in 2003, a protracted lawsuit ensued following that injury, and Mr.
  4   Rigali was sent to several antagonistic psychologists for examination as the defense
  5   tried to disprove his injuries and claim he was a malinger. That horrible experience
  6   has made Mr. Rigali especially apprehensive about subjecting himself to another
  7   such exam, let alone as a precondition to exercising an enumerated right. Further,
  8   LVPD requires that applicants undergo psychological exams not locally, but in San
  9   Bernardino, 35 miles away. Such a travel requirement is burdensome for all
 10   applicants, but particularly so for Mr. Rigali given his disability.
 11          37.     Plaintiff Keith Reeves is a resident of La Verne, a law-abiding citizen,
 12   and a member of Plaintiffs The Second Amendment Foundation, Gun Owners of
 13   America, and CRPA. He is a certified NRA pistol instructor and a range safety
 14   officer. He has CCW permits issued by both Arizona and Utah, which are honored
 15   by several states but not California. Both of Mr. Reeves’ permits required a
 16   criminal background check to obtain.
 17          38.     Mr. Reeves applied for a CCW permit in January 2014, and was
 18   denied in May 2015 because he was deemed to lack sufficient “good cause,” a
 19   criterion the Supreme Court struck down in Bruen seven years later. Post-Bruen,
 20   Mr. Reeves wishes to reapply for a permit, but cannot afford to do so due to the
 21   excessive application and issuance fees charged by LVPD.
 22          39.     Mr. Reeves also refuses to subject himself to an unconstitutional
 23   psychological exam. Once the unconstitutional requirements are removed or
 24   invalidated, he will apply for a permit without delay, but has refrained from doing
 25   so due to the challenged restrictions.
 26          40.     Plaintiff Cynthia Gabaldon is a resident of La Verne, a law-abiding
 27   citizen, and a member of Plaintiff CRPA. She has trained with firearms for most of
 28   her life.
                                        10
                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23        Page 11 of 41 Page ID
                                      #:11


  1         41.    Encouraged by the Supreme Court’s ruling in Bruen, Mrs. Gabaldon
  2   decided it was time to obtain a CCW permit. Unfortunately, the exorbitant fees
  3   LVPD charges have dissuaded her from applying. Mrs. Gabaldon is self-employed
  4   and has a son in college. Given her limited income and her expenses, she cannot
  5   afford LVPD’s excessive fees to exercise an enumerated right. Mrs. Gabaldon also
  6   objects to subjecting herself to a psychological examination.
  7         42.    Plaintiff Stephen Hoover is a resident of Florida, and a law-abiding
  8   citizen. He is a PhD candidate at the Center for Complex Systems and Brain
  9   Sciences in the Charles E. Schmidt College of Science at Florida Atlantic
 10   University. He owns firearms and has a Florida-issued CCW permit. He is also a
 11   member of Plaintiff CRPA and The Second Amendment Foundation.
 12         43.    Mr. Hoover spent a significant amount of time in California in the
 13   summer of 2023 and plans to return for work and leisure purposes in the near
 14   future.
 15         44.    While he was in California, he sought to obtain a California CCW
 16   permit from the Monterey County Sheriff’s Department, as California would not
 17   honor his Florida CCW permit, but he still desired to be able to exercise his right to
 18   carry for self-defense. Yet in spite of otherwise meeting the criteria for eligibility,
 19   his application was denied because he was deemed ineligible for a CCW permit
 20   under Penal Code Section 26150(a)(3), as he is not a resident of the county he
 21   applied in, nor a resident of California.
 22         45.    Mr. Hoover joins this lawsuit against California Attorney General Rob
 23   Bonta for Mr. Bonta’s enforcement of a complete prohibition on the right to carry
 24   against citizens from other states.
 25         46.    Plaintiff The Second Amendment Foundation (“SAF”) is a non-profit
 26   membership organization. It is incorporated under the laws of the state of
 27   Washington and was founded in 1974. SAF has over 720,000 members and
 28   supporters nationwide, including thousands of members in California. SAF is
                                      11
                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23       Page 12 of 41 Page ID
                                      #:12


  1   dedicated to promoting a better understanding of the nation’s constitutional heritage
  2   and tradition of privately owning, possessing, and carrying firearms, through
  3   educational and legal action programs designed to better inform the public. SAF is
  4   a pioneer and innovator in defending the right to keep and bear arms, through its
  5   publications and public education programs like the Gun Rights Policy Conference.
  6   SAF also incurs significant expenses to sponsor public interest litigation to defend
  7   its interests and to disseminate information to like-minded individuals. SAF
  8   members who want CCW permits but reside in Los Angeles County or La Verne
  9   are subject to lengthy wait times, exorbitant fees, and unconstitutionally subjective
 10   permit issuance criteria that violate the U.S. Constitution.
 11         47.    Plaintiff Gun Owners of America, Inc. (“GOA”) is a California non-
 12   stock corporation and a not-for-profit membership organization with its principal
 13   place of business in Springfield, Virginia, and is organized and operated as a non-
 14   profit membership organization that is exempt from federal income taxes under
 15   Section 501(c)(4) of the Internal Revenue Code. GOA was formed in 1976 to
 16   preserve and defend the Second Amendment rights of gun owners. It has more than
 17   2 million members and supporters across the country, including residents within
 18   this judicial district and throughout the State of California. GOA members who
 19   wish to obtain CCW permits but reside in Los Angeles County or La Verne are
 20   subject to lengthy wait times or exorbitant fees, and also unconstitutionally
 21   subjective criteria.
 22         48.    Plaintiff Gun Owners Foundation (“GOF”) is a Virginia non-stock
 23   corporation and a not-for-profit legal defense and educational foundation with its
 24   principal place of business in Springfield, Virginia and is organized and operated as
 25   a non-profit legal defense and educational foundation that is exempt from federal
 26   income taxes under Section 501(c)(3) of the Internal Revenue Code. GOF was
 27   formed in 1983 and is supported by gun owners across the country, within this
 28   judicial district, and throughout the State of California who, like the individual
                                    12
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23        Page 13 of 41 Page ID
                                      #:13


  1   Plaintiffs, will be irreparably harmed by the implementation and enforcement of SB
  2   2. GOF supporters who wish to obtain CCW permits but reside in Los Angeles
  3   County or La Verne are subject to lengthy wait times or exorbitant fees, and also
  4   unconstitutionally subjective criteria.
  5         49.    Plaintiff Gun Owners of California, Inc. (“GOC”) is a non-profit
  6   organization incorporated under the laws of the state of California with
  7   headquarters in El Dorado Hills, California. GOC is dedicated to the restoration of
  8   the Second Amendment in California. GOC members who wish to obtain CCW
  9   permits but reside in Los Angeles County or La Verne are subject to lengthy wait
 10   times or exorbitant fees, and also unconstitutionally subjective criteria.
 11         50.    Plaintiff CRPA is a non-profit membership and donor-supported
 12   organization qualified as tax-exempt under Section 501(c)(4) of the Internal
 13   Revenue Code, with its headquarters in Fullerton, California. Founded in 1875,
 14   CRPA seeks to defend the civil rights of all law-abiding individuals, including the
 15   enumerated right to bear firearms for lawful purposes like self-defense. CRPA
 16   regularly participates as a party or amicus in litigation challenging unlawful
 17   restrictions on the right to keep and bear arms. It also provides guidance to
 18   California gun owners regarding their legal rights and responsibilities. CRPA
 19   members include law enforcement officers, prosecutors, professionals, firearm
 20   experts, and the general public. CRPA members who want CCW permits but reside
 21   in Los Angeles County or the City of La Verne are subject to lengthy wait times or
 22   exorbitant fees, and also unconstitutionally subjective criteria.
 23         Defendants
 24         51.    Defendant LASD is a local government entity created under the laws
 25   of California, and it exists as an agency of Los Angeles County. LASD is a political
 26   subdivision of Los Angeles County. LASD is responsible for issuing CCW permits.
 27         52.    Defendant Robert Luna is the elected Sheriff of Los Angeles County.
 28   Defendant Luna is and, at all times relevant to this complaint, was one of the
                                    13
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23        Page 14 of 41 Page ID
                                      #:14


  1   ultimate policy makers for Defendant LASD, and he has authority and
  2   responsibility under California Penal Code Section 26150 to issue carry permits
  3   within the county. He is directly responsible for promulgating, enforcing, and
  4   continuing the policies of his Department, including the unlawful policies and
  5   procedures complained of herein. Luna is sued solely in his official capacity.
  6         53.    Defendant LVPD is a local government entity created under the laws
  7   of California, and it exists as an agency and subdivision of the City of La Verne.
  8   LVPD CCW permit applications and renewals for residents of the city.
  9         54.    Defendant Colleen Flores is the Chief of Police of LVPD. She is sued
 10   in her official capacity. She has authority and responsibility under California Penal
 11   Code Section 26155 to issue carry permits to residents of La Verne.
 12         55.    Defendant Robert Bonta is the Attorney General of California. He is
 13   the chief law enforcement officer of California. Defendant Bonta is charged by
 14   Article V, section 13 of the California Constitution with the duty to see that the
 15   laws of California are uniformly and adequately enforced. Defendant Bonta also
 16   has direct supervision over every district attorney and sheriff in all matters
 17   pertaining to the duties of those respective officers. Defendant Bonta’s duties also
 18   include informing the public, local prosecutors, and law enforcement regarding the
 19   meaning of the laws of California.
 20         56.    The true names or capacities–whether individual, corporate, associate,
 21   or otherwise–of the Defendants named herein as Does 1 through 10 are presently
 22   unknown to Plaintiffs and are therefore sued by these fictitious names. Plaintiffs
 23   pray for leave to amend this Complaint to show the true names or capacities of
 24   these Defendants if and when they have been determined.
 25                             JURISDICTION AND VENUE
 26         57.    The Court has original jurisdiction of this civil action under 28 U.S.C.
 27   § 1331, because the action arises under the Constitution and laws of the United
 28   States, thus raising federal questions. The Court also has jurisdiction under 28
                                    14
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS       Document 1 Filed 12/04/23       Page 15 of 41 Page ID
                                       #:15


  1   U.S.C. § 1343(a)(3) and 42 U.S.C. §1983 because this action seeks to redress the
  2   deprivation, under color of the laws, statutes, ordinances, regulations, customs, and
  3   usages of the State of California and political subdivisions thereof, of rights,
  4   privileges or immunities secured by the United States Constitution and by Acts of
  5   Congress.
  6         58.    Plaintiffs’ claims for declaratory and injunctive relief are authorized by
  7   28 U.S.C. §§ 2201-2202, and their claim for attorney’s fees is authorized by 42
  8   U.S.C. § 1988.
  9         59.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2)
 10   because the events or omissions giving rise to the claims occurred in this district.
 11   Los Angeles County Sheriff’s Department and La Verne Police Department are
 12   both located within this district.
 13                               GENERAL ALLEGATIONS
 14         60.    The Supreme Court has recognized that the Second Amendment
 15   protects the individual right to keep and bear arms and protects, inter alia, the right
 16   of the people to “possess and carry weapons in case of confrontation.” District of
 17   Columbia v. Heller, 554 U.S. 570, 592 (2008).
 18         61.    The Supreme Court has also held that the Second Amendment right to
 19   keep and bear arms, via Fourteenth Amendment incorporation, applies equally to
 20   prohibit infringement by state and local governments. See McDonald v. City of
 21   Chicago, 561 U.S. 742, 750, 778 (2010) (“it is clear that the Framers and ratifiers of
 22   the Fourteenth Amendment counted the right to keep and bear arms among those
 23   fundamental rights necessary to our system of ordered liberty”) (emphasis added).
 24         62.    Heller established a “text, history, and tradition” framework for
 25   analyzing Second Amendment questions. See Bruen, 142 S. Ct. at 2127-29, citing
 26   Heller, 554 U.S. at 634. Under that framework, the Heller Court assessed historical
 27   evidence to determine the prevailing understanding of the Second Amendment at
 28   the time of its ratification in 1791. Based on that assessment, the Court concluded
                                    15
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS     Document 1 Filed 12/04/23        Page 16 of 41 Page ID
                                     #:16


  1   that the District of Columbia statute which prohibited possession of the most
  2   common type of firearm in the nation (the handgun) lacked a Revolutionary-era
  3   tradition, did not comport with the historical understanding of the scope of the
  4   right, and therefore violated the Second Amendment.
  5         63.    Most recently, the Supreme Court confirmed and reiterated Heller’s
  6   historical approach to analyzing Second Amendment questions:
  7         We reiterate that the standard for applying the Second Amendment is
            as follows: When the Second Amendment’s plain text covers an
  8         individual’s conduct, the Constitution presumptively protects that
            conduct. The government must then justify its regulation by
  9         demonstrating that it is consistent with the Nation’s historical tradition
            of firearm regulation. Only then may a court conclude that the
 10         individual’s conduct falls outside the Second Amendment’s
            “unqualified command.”
 11
      Bruen, 142 S. Ct. at 2126 (quoting Konigsberg v. State Bar of Cal., 366 U. S. 36, 50
 12
      n.10 (1961)).
 13
 14         64.    In applying that test, the Bruen Court confirmed “that the Second and
 15   Fourteenth Amendments protect an individual’s right to carry a handgun for self-
 16   defense outside the home.” 142 S. Ct. at 2122.
 17                   California’s Law Regarding CCW Permit Issuance
 18         65.    Following the California Legislature’s enactment of SB 2, which takes
 19   effect in January of 2024, California law imposes the following CCW permit
 20   application requirements:
 21         (a) When a person applies for a new license or license renewal to carry
            a pistol, revolver, or other firearm capable of being concealed upon the
 22         person, the sheriff of a county shall issue or renew a license to that
            person upon proof of all of the following:
 23
            (1) The applicant is not a disqualified person to receive such a license,
 24         as determined in accordance with the standards set forth in Section
            26202.
 25
            (2) The applicant is at least 21 years of age, and presents clear
 26         evidence of the person’s identity and age, as defined in Section 16400.
 27         (3) The applicant is a resident of the county or a city within the county,
            or the applicant’s principal place of employment or business is in the
 28         county or a city within the county and the applicant spends a
                                    16
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS         Document 1 Filed 12/04/23       Page 17 of 41 Page ID
                                         #:17

              substantial period of time in that place of employment or business.
  1           Prima facie evidence of residency within the county or a city within
              the county includes, but is not limited to, the address where the
  2           applicant is registered to vote, the applicant’s filing of a homeowner’s
              property tax exemption, and other acts, occurrences, or events that
  3           indicate presence in the county or a city within the county is more than
              temporary or transient. The presumption of residency in the county or
  4           city within the county may be rebutted by satisfactory evidence that
              the applicant’s primary residence is in another county or city within
  5           the county.
  6           (4) The applicant has completed a course of training as described in
              Section 26165.
  7
              (5) The applicant is the recorded owner, with the Department of
  8           Justice, of the pistol, revolver, or other firearm for which the license
              will be issued.
  9
 10   Cal. Penal Code § 26150(a) (West 2023); see id. § 26155(a) (listing the same
 11   requirements for when a city’s Police Department conducts permit issuance).
 12           66.      Under the recently revised Penal Code Section 26205 operative
 13   January 2024, a licensing authority:
 14           shall give written notice to the applicant indicating if the license under
              this chapter is approved or denied. The licensing authority shall give
 15           this notice within 120 days of receiving the completed application for a
              new license, or 30 days after receipt of the information and report from
 16           the Department of Justice described in paragraph (2) of subdivision (a)
              of Section 26185, whichever    is later. The licensing authority shall give
 17           this notice within 120 days2 of receiving the completed application for
              a license renewal.
 18
 19           67.      Under Penal Code Section 26190(b)(2), only 50 percent3 of the
 20   “additional local fee”—what the issuing authority may charge CCW permit
 21   applicant above the DOJ’s application fees—may be charged at the time the CCW
 22   permit application is submitted. The balance may be collected only when a permit
 23   is issued. Furthermore, the additional local fee cannot exceed the actual reasonable
 24   costs incurred by the locality in processing the application.
 25           68.      While Bruen expressly forbids subjective criteria be used during a
 26
              2
                  The 120-day time limit was 90 days prior to the passage of SB 2.
 27
              3
                  This additional local fee was capped at 20 percent prior to the passage of
 28   SB 2.
                                        17
                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23        Page 18 of 41 Page ID
                                      #:18


  1   licensure process, California law does too, at least to the extent the standard DOJ
  2   CCW permit application does not require such information. According to Penal
  3   Code Section 26175(g), “[a]n applicant shall not be required to complete any
  4   additional application or form for a license, except to clarify or interpret
  5   information provided by the applicant on the standard application form.” Thus,
  6   local requirements (such as Defendant LASD’s) that an applicant produce copies of
  7   past employment files or identify a need for self-defense are not within the ambit of
  8   the DOJ’s standard permit application.
  9         69.    California law authorizes a local issuing authority to conduct
 10   psychological testing prior to issuance of a concealed carry license. This provision
 11   of California’s CCW licensing regime manages to violate more than just the Second
 12   Amendment. It violates the presumption of sanity, it places an impressible burden
 13   on exercising an enumerated right, and violates the procedural due process
 14   guarantees of the Fourteenth Amendment.
 15         70.    Psychological testing has the effect of transferring the discretionary
 16   issuance of a permit to exercise an enumerated right from a government official to a
 17   psychologist. Bruen’s holding rejects “suitability” determinations in permit
 18   issuance schemes, and a psychological evaluation is a per se a suitability
 19   determination. Such an evaluation impermissibly introduces the subjective
 20   impressions and opinions of the person conducting the evaluation into the permit
 21   issuance determination, rather than using objective criteria such as prior mental
 22   health adjudications. In that sense, a psychological exam to determine whether an
 23   applicant has the proper temperament to bear arms is nothing more than a
 24   requirement that an applicant demonstrate “good moral character” in order to bear
 25   arms – something that Bruen definitively forecloses by rejecting “suitability”
 26   determinations. And that is to say nothing about the utter dearth of a Founding-era
 27   tradition of testing the mental condition of each and every individual seeking to
 28   exercise their rights to carry arms in public.
                                    18
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS       Document 1 Filed 12/04/23        Page 19 of 41 Page ID
                                       #:19


  1         71.     What is more, California law permits local issuing authorities to
  2   impose this unconstitutional and subjective psychological-suitability determination
  3   on individuals as a prerequisite to carry a firearm, even after they have already
  4   demonstrated their lawful entitlement to possess a firearm. In other words, the
  5   CCW applicant has already passed a background check (including a check of a
  6   history of prior disqualifying mental health commitments or holds) as a condition of
  7   purchasing a firearm. And this already-passed background check is the same
  8   background check that a CCW permit applicant will again have to pass during the
  9   permit-issuance process, prior to any psychological evaluation being performed.
 10         72.     Furthermore, the excessive cost and financial burden of such a
 11   psychological test impermissibly shifts the burden to CCW applicants in violation
 12   of Bruen.
 13         73.     California law already provides for fully disarming any person
 14   subjected to a psychological hold when a qualified professional has determined that
 15   the individual is a danger to themselves or others. See Cal. Welf. & Inst. Code §§
 16   5150, 5250, 8100-8108. A person’s disqualifying mental health hold is a
 17   mandatory record forwarded to and maintained by the California Department of
 18   Justice for regulating firearm possession. Id., §§ 8104-06. Yet even after a mental
 19   health hold, the State of California, not the individual citizen, bears the burden of
 20   proving a threat to public safety based on evidence of psychological
 21   disqualification. Id., § 8103(f)(6). SB 2 contradicts existing law in California by
 22   requiring a law-abiding resident to prove a negative – i.e., that they are not insane
 23   or psychologically impaired.
 24         74.     For all of these reasons, Plaintiffs also challenge the constitutionality
 25   of California Penal Code Section 26190(e), 4 which permits issuing authorities to
 26   mandate psychological testing. That is the primary reason the Attorney General is
 27
 28         4
                Designated 26190(f) prior to the passage of SB 2.
                                      19
                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS       Document 1 Filed 12/04/23       Page 20 of 41 Page ID
                                       #:20


  1   included as a Defendant in this lawsuit.
  2         75.     SB 2 also added new subsections to the Penal Code that allow issuing
  3   authorities to disqualify a permit applicant due to loss or theft (being a victim of
  4   crime) of a firearm. Specifically, an applicant is disqualified if: “In the 10 years
  5   prior to the licensing authority receiving the completed application for a new
  6   license or a license renewal, [he] has experienced the loss or theft of multiple
  7   firearms due to the applicant’s lack of compliance with federal, state, or local law
  8   regarding storing, transporting, or securing the firearm. For purposes of this
  9   paragraph, “multiple firearms” includes a loss of more than one firearm on the same
 10   occasion, or the loss of a single firearm on more than one occasion.” See Cal. Penal
 11   Code § 26202(a)(9) (West 2023).
 12         76.     An applicant can also be denied if he: “[f]ailed to report a loss of a
 13   firearm as required by Section 25250 or any other state, federal, or local law
 14   requiring the reporting of the loss of a firearm.” See id. § 26202(a)(10).
 15         77.     None of these additional criteria imposed on license applicants
 16   comport with the Second Amendment, as there is no broad and enduring historical
 17   tradition of disarming Americans because they have been victimized by criminals.
 18   Thus, Plaintiffs seek to enjoin Defendants from enforcing these statutory
 19   provisions.
 20
      LASD Is Misled by the Attorney General and Does Not Address Lengthy Wait
 21        Times Despite Several Letters from CRPA Warning of Litigation
 22         78.     Following the Bruen ruling, CRPA sent letters to all California
 23   sheriff’s departments, including Los Angeles County. The first letter was sent the
 24   day after the June 2022 Bruen ruling, and explained that the “good cause” portion
 25   of California’s CCW permit issuance laws was no longer enforceable.
 26         79.     But rather than complying with the Supreme Court’s decision, the
 27   Attorney General rebelled, responding to the Bruen ruling by claiming that local
 28   sheriffs and police chiefs in fact could add more steps and impose additional
                                    20
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23       Page 21 of 41 Page ID
                                      #:21


  1   subjective considerations to the permit application process in light of Bruen. On
  2   June 24, 2022, the Attorney General sent a Legal Alert to law enforcement officials
  3   across California, instructing it was proper under Bruen to apply a heightened
  4   “good moral character” requirement to the application process which included
  5   subjective considerations beyond the applicant passing a criminal and mental health
  6   background check.
  7         80.    In response to the Attorney General’s malicious and intentional
  8   attempt to undermine the Bruen ruling, CRPA sent a second letter to several
  9   sheriff’s departments, including LASD, reiterating that the Second Amendment, as
 10   clarified by the Bruen ruling, will only permit “narrow, objective, and definite”
 11   standards to be used in issuing permits to law-abiding citizens, 5 and that they
 12   should ignore the Attorney General’s unlawful instruction to his subordinate law
 13   enforcement agencies.
 14         81.    In the months following CRPA’s correspondences to the county
 15   sheriffs, CRPA received responses from several departments stating that they
 16   would begin complying with Bruen. In contrast, LASD never responded. It did
 17   begin to process CCW permit applications, albeit at an unlawfully slow pace, with
 18   wait times routinely stretching beyond one year for many CRPA members.
 19   However, CRPA abstained from litigation, believing it best to allow the law
 20   enforcement authorities some time to adjust to the implied mandate of Bruen.
 21         82.    In August 2022, former LASD Sheriff Alex Villanueva announced that
 22   “LASD will only accept first-time CCW applications from those who reside within
 23   our contract cities or unincorporated communities. Applicants residing in a
 24   municipality other than those served by LASD shall contact their local police
 25   department and apply for a CCW license.” This meant that several cities in Los
 26
 27         5
              Again, Plaintiffs do not concede that any mandatory permitting scheme was
      found permissible by Bruen, as most of the states that have such objective “shall
 28   issue” schemes also allow constitutional carry or open carry without a license.
                                      21
                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS     Document 1 Filed 12/04/23       Page 22 of 41 Page ID
                                     #:22


  1   Angeles County, that had not set up a CCW permit program, like La Verne, would
  2   now need to do so, even though the Sheriff is obligated to accept and process such
  3   applications from any county resident—whether they live in a "non-contract” city
  4   or not—under California Penal Code section 26150.
  5         83.    This illegal LASD policy change has contributed to the high fees
  6   problem. LASD’s refusal to grant permits to residents of municipalities inside the
  7   county eliminates a cheaper route to obtaining a permit for county residents, and
  8   gives them no way around the exorbitant fees that some municipalities, like LVPD,
  9   have imposed.
 10         84.    As CRPA received an ever-increasing volume of complaints about
 11   waiting times and fees from its members in the months following Bruen, it sent a
 12   letter to newly elected Sheriff Luna on February 21, 2023. The letter advised that
 13   long wait times contravene Bruen’s express language, violate the Second
 14   Amendment, and are unlawful under California law, and promised to forbear
 15   litigation should the Sheriff imminently address the long wait times at issue.
 16         85.    Sheriff Luna’s office responded by letter dated March 9, 2023, stating
 17   that LASD was “taking steps to reduce processing times and improve our overall
 18   processes.” That letter detailed how the adoption of new application processing
 19   software (Permitium) may reduce processing times and alluded to potentially
 20   increasing staffing in the CCW unit to address the backlog of applications. The
 21   Sheriff stated that he hoped the situation would be much better in six months, and
 22   he promised to provide regular progress updates (that never materialized).
 23         86.    CRPA responded on March 14, 2023 writing that, while Sheriff Luna’s
 24   letter was encouraging, another six months was not an acceptable timeframe, given
 25   the thousands of applications lingering for a year or more. CRPA also noted that
 26   LASD previously admitted that long wait times are unconstitutional. In a July 7,
 27   2022, letter to the Chief of Police of San Gabriel explaining why LASD could no
 28   longer accept applications from residents of San Gabriel, the Department wrote in
                                    22
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS        Document 1 Filed 12/04/23       Page 23 of 41 Page ID
                                        #:23


  1   pertinent part:
  2
  3
  4
  5
  6
  7
  8             87.   CRPA’s March 14, 2023 letter also expressed CRPA’s view that
  9   adopting a policy of not processing permit applications from LA County residents
 10   living in non-contract municipalities was illegal. CRPA is unaware of any other
 11   California county sheriff that refuses to process CCW permit applications for that
 12   county’s residents merely because those residents live in a “non-contract city.”
 13             88.   Unfortunately, in a responsive letter dated March 24, 2023, the Sheriff
 14   only repeated his vague promise to “improve efficiency and reduce processing
 15   times,” but refused to resume accepting applications from residents of non-contract
 16   cities.
 17             89.   As of the filing of this lawsuit, the wait times for LASD permit
 18   applicants in fact have grown worse instead of better, with CRPA members
 19   complaining of wait times in excess of 15 months. Some individuals who submitted
 20   applications at the time of the Bruen ruling in June 2022 have not even been
 21   contacted for their initial interview, as of November 2023.
 22             90.   LASD does not deny that its wait times are absurdly long. In response
 23   to a Public Records Act request by Attorney Jason Davis, the Department
 24   confirmed that applicants could expect wait times of, “from application entry to
 25   issuance . . . a year to a year and a half.”
 26             91.   CRPA sent a final letter to the Sheriff on September 14, 2023, warning
 27   that litigation was imminent if no immediate changes to accelerate application
 28   processing were made. A response was received from the Sheriff on November 1,

                                       23
                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23        Page 24 of 41 Page ID
                                      #:24


  1   2023, making the same vague promises as before, however, no concrete steps to
  2   implement these purported fixes or timelines for doing so were identified.
  3         LVPD’s Exorbitant Fees and Unconstitutional Psychological Exam
                                    Requirement
  4
            A.      LVPD’s Permit Application Fees Are Dramatically Higher Than Most
  5                 Other Issuing Authorities in California and Elsewhere
  6         92.     Like many other municipalities in California, La Verne did not
  7   historically have a CCW permitting process, but instead referred applicants to
  8   LASD. But as discussed supra, after Bruen, LASD announced that it “will only
  9   accept first-time CCW applications from those who reside within our contract cities
 10   or unincorporated communities and encourage applicants residing in a municipality
 11   other than those served by LASD to contact their local police department and apply
 12   for a CCW license.”6 Consequently, La Verne and other cities were forced to
 13   establish their own permitting programs.
 14         93.     LVPD took several months to set up its permit process, during which
 15   time its residents had no operative permitting authority to which to apply in order to
 16   obtain a permit to exercise the constitutional right to bear arms outside the home.
 17   Eventually, LVPD announced in early 2023 that it would begin accepting
 18   applications, and published the schedule of fees.
 19         94.     However, the outrageous fee schedule included $398 for “processing,”
 20   $150 for “administrative” costs, $93 for “licensing,” $20 for fingerprinting, $150
 21   for a psychological exam, $20 for a card-issuance fee, and $250 for a training
 22   course. Applicants would thus have to pay more than $1,000 merely to be approved
 23   to exercise their constitutional self-defense right.
 24         95.     This cumulative fee schedule significantly exceeds what CCW
 25   applicants in other states pay. For example, in Arizona, where applying for a permit
 26   is entirely optional because Arizona is a constitutional carry state, the application
 27
            6
                See <https://lasd.org/ccw/#ccw_fees> (as of November 30, 2023).
 28
                                      24
                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS       Document 1 Filed 12/04/23        Page 25 of 41 Page ID
                                       #:25


  1   fee is $60 plus the cost of fingerprinting that must be submitted with the
  2   application. 7 In Texas, the application fee is $40. 8 Florida charges $55 for its
  3   issuance fee and $42 for fingerprinting. 9 Utah charges $53.25 for Utah residents,
  4   and $63.25 for non-residents. 10 In Minnesota, the fee may not exceed $100. 11
  5   Nevada charges $100.25.12 Washington State charges $36 plus fingerprinting fees.13
  6         96.     California’s short two-year permit period is also an outlier that makes
  7   the average annual to exercise the carry right much greater than other states. An
  8   Arizona CCW permit, for example, is good for five years and costs only $60. Thus,
  9   an Arizona permit costs roughly $12 a year, whereas a La Verne permit costs no
 10   less than $500 per year.
 11         97.     The fees LVPD charges eclipse even other issuing authorities within
 12   California. Defendant LASD, for example, charges a $43 initial fee, 14 a $173
 13
 14         7
              See “Concealed Weapons & Permits | Arizona Department of Public
      Safety,” <https://www.azdps.gov/services/public/cwp> (as of November 30, 2023).
 15
            8
              See “Licensing & Registration | Department of Public Safety,”
 16   <https://www.dps.texas.gov/section/handgun-licensing/licensing-registration> (as
      of November 30, 2023).
 17
            9
              See “Concealed Weapons License Fees,”
 18   <https://www.fdacs.gov/content/download/7438/file/Concealed-Weapons-License-
      Fees-06-26-2017.pdf> (as of November 30, 2023).
 19
            10
               See “How do I Apply for a Concealed Firearm Permit? | DPS – Criminal
 20   Identification (BCI),” <https://bci.utah.gov/concealed-firearm/how-do-i-apply-for-
      a-concealed-firearm-permit> (as of November 30, 2023).
 21
            11
               See “Administrative Services – Permit to Carry FAQ,”
 22   <https://dps.mn.gov/divisions/bca/bca-divisions/administrative/Pages/Permit-to-
      Carry-FAQ.aspx> (as of November 30, 2023).
 23
            12
              See “Concealed Firearms Permits,” < https://www.lvmpd.com/en-
 24   us/RecordsFingerprintBureau/Pages/ConcealedFirearms.aspx > (as of November
      30, 2023).
 25
            13
               See “Fees: Firearms”
 26   <https://www.dol.wa.gov/business/firearms/fafees.html> (as of November 30,
      2023).
 27
            14
                 See <https://lasd.permitium.com/entry> (as of November 30, 2023).
 28
                                       25
                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS         Document 1 Filed 12/04/23     Page 26 of 41 Page ID
                                         #:26


  1   issuance fee, plus the cost of training 15 and livescan, 16 which applicants contract for
  2   on their own through a third party. The San Diego County Sheriff’s Department
  3   charges a $27.60 application fee, 17 a $93 livescan fee, and a $110.40 final fee, with
  4   the training provider chosen and contracted with by the applicant. The Orange
  5   County Sheriff’s Department’s fees total $169 for the application, 18 with applicants
  6   completing the livescan and training through third parties they choose and contract
  7   with.
  8           98.      LVPD’s claimed processing costs are not only excessive, but not even
  9   comparable to similar cities’ fees. La Verne’s next-door neighbor Glendora charges
 10   $243 in total for processing (including livescan), plus the cost of the training
 11   course. 19 Burbank charges $100, plus the cost of livescan and the training course.20
 12   Whittier charges $243 (including livescan), plus the cost of the training course. 21
 13   Even the City of Los Angeles is not as expensive as La Verne, charging $268 plus
 14   the cost of livescan and the training course22. Moreover, none of the examples listed
 15   here require a psychological exam, which saves applicants $150. Permit renewal
 16
               Training courses are typically offered by an approved list of providers,
              15
 17   with the class costing between $175 and $400 depending on the provider.
 18           16
                   Typically around $100, depending on the provider.
 19            See <https://www.sdsheriff.gov/i-want-to/get-a-permit-or-
              17
      license/regulatory-licenses-and-fees/concealed-weapons-license> (as of November
 20   30, 2023).
 21           18
                   See <https://ocsd.permitium.com/ccw/start> (as of November 30, 2023).
 22           19
                   See <https://glendorapdca.permitium.com/ccw/start> (as of November 30,
      2023).
 23
              20
                   See <https://burbankpdca.permitium.com/ccw/start> (as of November 30,
 24   2023).
 25           21
                   See <https://whittierpdca.permitium.com/ccw/start> (as of November 30,
      2023).
 26
               See <https://www.lapdonline.org/office-of-the-chief-of-police/office-of-
              22
 27   special-operations/detective-bureau/detective-services-group/ccw-carry-concealed-
      weapon-license/> (as of November 30, 2023).
 28
                                         26
                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS           Document 1 Filed 12/04/23       Page 27 of 41 Page ID
                                           #:27


  1   fees for these localities are generally under $100.
  2             99.     In general, most applicants in California will spend around $400-$600
  3   to get their permits. While this is expensive, it is a relative bargain compared to
  4   LVPD’s astronomical $1,000 price tag for government approval to bear arms in
  5   public.
  6             B.      Outsourcing Application Processing to Third-party Processor
                        MyCCW is Why LVPD is so Much Costlier Than Other Issuing
  7                     Authorities.
  8             100.     Of the 88 distinct municipalities in Los Angeles County, the only ones
  9   with grossly excessive fee schedules similar to LVPD are those cities which, like
 10   La Verne, have outsourced CCW processing to a third-party private contractor
 11   called “MyCCW.” These include cities like Santa Monica, San Gabriel, and Signal
 12   Hill.23
 13             101. To use MyCCW to process residents’ CCW Permit applications, those
 14   cities, including La Verne, pass on a number of exorbitant or illegal fees charged by
 15   MyCCW, including:
 16             a.      the entire application fee charged at the time the application is
 17   submitted, in violation of Penal Code section 26190, which caps the percentage of
 18   the total fee collected until after the application is approved;
 19             b.      a renewal fee of $348, in excess of the current renewal fee allowed
 20   under Section 26190.24
 21
 22             23
                     See <https://www.myccw.us/> (as of November 30, 2023).
 23            It is unclear how contracting with MyCCW to perform CCW Permit
                24
      application processing for LVPD is legal in any aspect because, while a licensing
 24   authority may charge an additional fee for processing an application beyond the
      standard DOJ charges in an amount equal to that local authority’s reasonable costs
 25   for processing, the Penal Code expressly requires that the additional fee collected
      be deposited in the local authority’s treasury, not shared with a private contractor as
 26   profit. See Cal. Penal Code § 26190(b) (West 2023). However, Plaintiffs do not
      challenge the legality of the use of third-party processors such as MyCCW in this
 27   action, and limit their challenge to only the costs passed along to applicants for
      such use.
 28
                                           27
                     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23       Page 28 of 41 Page ID
                                      #:28


  1         102. LVPD passes these unconstitutionally high and contrary to state law
  2   fees imposed by MyCCW’s use onto its applicants. The $398 application fee, plus
  3   the $150 psychological examination—which most other cities and LASD do not
  4   require—explains in part why LVPD’s CCW fee schedule is exorbitantly high, an
  5   outlier among outliers.
  6         C.     LVPD’s Burdensome Psychological Examination.
  7         103. LVPD’s required psychological exam administered is invasive and
  8   burdensome, it violates procedural due process, and is fundamentally incompatible
  9   with the exercise of Second Amendment rights.
 10         104. The exam is administered at a facility in San Bernardino on weekdays.
 11   That drive takes approximately an hour each way for a typical La Verne resident.
 12   The facility applicants are required to use was designed to test applicants applying
 13   for roles in law enforcement, not citizens exercising their Second Amendment
 14   rights. Yet, for reasons having no grounding in science or empirical evidence,
 15   LVPD requires CCW permit applicants to fill out a psychological exam asking
 16   applicants the same questions that are used to screen its law enforcement personnel.
 17         105. Applicants are then interviewed by a psychologist, who ultimately
 18   makes a recommendation to the City with respect to whether the person should be
 19   entrusted with Second Amendment rights.
 20         106. From start to finish, including drive time, an applicant will likely
 21   spend at least four hours on this examination.
 22         107. Furthermore, the requirement that a law-abiding person affirmatively
 23   and subjectively prove that they are psychologically suitable to exercise the right of
 24   self-defense is not grounded in any history or tradition of the right to bear firearms.
 25         108. Plaintiff CRPA sent several letters to La Verne identifying these issues
 26   with their CCW Permit scheme, but never received a response.
 27
 28
                                    28
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23        Page 29 of 41 Page ID
                                      #:29


  1             California Must Honor CCW Permits Issued by Other States
  2         109. A number of states issue permits to nonresidents. Most states require
  3   no permit at all for nonresidents to carry within their borders. Others allow open
  4   carry. Although California does not honor any other states’ CCW permits, dozens
  5   of states do honor each other’s permits. For example, a Utah CCW permit is valid
  6   in Nevada, Idaho, Montana, Washington, and 32 other states.
  7         110. In addition to a lack of any reciprocity for other states’ permits, there
  8   is no process for nonresidents like Plaintiff Hoover to get a California CCW permit,
  9   even if they were willing to put up with the time and expense such a process would
 10   likely involve. In other words, if you are visiting California from another state, or if
 11   you need to cross into the state regularly for work, you check your federally
 12   enumerated right to carry for self-defense at California’s border.
 13         111. California also does not honor nonresident permits even if they are
 14   held by its own residents, such as Plaintiffs Rigali and Reeves, who hold CCW
 15   permits issued by Utah and Arizona.
 16         112. California has no more authority to deny nonresidents’ rights to public
 17   carry than it does to deny their rights to speak within its borders. On the contrary,
 18   the Second Amendment’s reference to “‘the people[]’ … unambiguously refers to
 19   all members of the political community, not an unspecified subset.” Heller, 554
 20   U.S. at 580.
 21         113. An analogous issue was already decided in 2015. Because Ohio would
 22   not allow for same sex marriages, James Obergefell and John Arthur decided to
 23   marry in Maryland. After learning that Ohio would not recognize their marriage,
 24   they filed a lawsuit. The Supreme Court ultimately held, in pertinent part, that
 25   “[t]he Fourteenth Amendment requires a State . . . to recognize a marriage between
 26   two people of the same sex when their marriage was lawfully licensed and
 27   performed out-of-State.” Obergefell v. Hodges, 576 U.S. 644, 644 (2015). In
 28   reaching this conclusion, the Court explained that:
                                    29
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23        Page 30 of 41 Page ID
                                      #:30


  1         For some couples, even an ordinary drive into a neighboring State to
            visit family or friends risks causing severe hardship in the event of a
  2         spouse’s hospitalization while across state lines. In light of the fact that
            many States already allow same-sex marriage—and hundreds of
  3         thousands of these marriages already have occurred—the disruption
            caused by the recognition bans is significant and ever-growing. As
  4         counsel for the respondents acknowledged at argument, if States are
            required by the Constitution to issue marriage licenses to same-sex
  5         couples, the justifications for refusing to recognize those marriages
            performed elsewhere are undermined.
  6
      Id. at 680-681.
  7
  8         114. This holding and its logic, with respect to an unenumerated right,
  9   apply just as much to the enumerated right to bear arms, and thus applies equally to
 10   CCW permits issued by other states as the Supreme Court instructs that it does to
 11   marriage licenses issued by other states. California may not completely deny
 12   Americans the right to carry for self-defense within California’s borders just
 13   because they are not California residents.
 14         115. In the free speech context, an individual “faced with such an
 15   unconstitutional licensing law may ignore it and engage with impunity in the
 16   exercise of the right of free expression for which the law purports to require a
 17   license.” Shuttlesworth v. City of Birmingham, 394 U.S. 147, 151 (1969). Similarly,
 18   if a non-resident’s permit is not honored in California, and there is no way for them
 19   to get a California CCW permit, their only avenue to exercise their right to carry in
 20   defiance of California law.
 21       PLAINTIFFS SEEK DECLARATORY AND INJUNCTIVE RELIEF
 22         116. Under Bruen, Defendants bear the burden of proving their policies
 23   comply with the Second Amendment. They will fail to do so, because their
 24   practices are entirely atextual and ahistorical, novel schemes developed in recent
 25   years or decades, and completely without any historical analogue.
 26         117. Accordingly, Plaintiffs seek declaratory relief confirming that Los
 27   Angeles County Sheriff’s Department’s current CCW permit application regime
 28   violates the Second Amendment, imposing extraordinary delays and including
                                    30
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS       Document 1 Filed 12/04/23        Page 31 of 41 Page ID
                                       #:31


  1   forbidden suitability determinations. LASD’s wait times also violate California
  2   Penal Code Section 26205 because they exceed the 90 days (or 120 days after
  3   January 1, 2024) permitted by statute.25
  4         118. LASD also violates California Penal Code Section 26150 by refusing
  5   to accept applications from all residents of Los Angeles County.
  6         119. Plaintiffs also seek declaratory relief confirming that LVPD’s current
  7   CCW permit application regime violates the Second Amendment because: it
  8   includes an unconstitutional psychological exam the City purports to utilize for
  9   applicants under California Penal Code Section 26190(f)(1), because its fee
 10   schedule is astronomically expensive, and because permit issuance is conditioned
 11   upon unconstitutional suitability determinations instead of narrow, objective, and
 12   definite standards.
 13         120. LVPD also violates Penal Code Section 26190(b)(2) by collecting the
 14   entire application fee upfront, prior to licensure. LVPD’s use of “MyCCW” violates
 15   Penal Code Sections 26190(b)(1) because it does not transfer its “additional fees” to
 16   the city treasury, instead paying a third-party provider. By charging over $25 for a
 17   renewal application, LVPD also violates Penal Code Section 26190(b) (“The
 18   licensing authority may charge an additional fee, not to exceed twenty-five dollars
 19   ($25), for processing the application for a license renewal, and shall transmit an
 20   additional fee, if any, to the city, city and county, or county treasury.”).
 21         121. Defendant Bonta has the burden of proving that Penal
 22   Code Section 26190(f)(1)’s psychological examination requirement for obtaining a
 23   CCW license comports with the Second Amendment in light of Bruen’s prohibition
 24   on suitability determinations for CCW licenses. He will fail to do so.
 25   Constitutional rights are not conditioned on a quasi-medical professional’s opinion
 26   of a person’s emotional bona fides.
 27
             Plaintiffs do not concede that either of these time periods is a permissible
            25
 28   impediment to the exercise of an enumerated right.
                                       31
                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23         Page 32 of 41 Page ID
                                      #:32


  1         122. Plaintiffs seek a declaration that all “the people” have the right to bear
  2   arms in public and, because of that, California must honor CCW permits issued by
  3   other states or allow residents of other states to apply for California CCW permits.26
  4         123. Finally, Plaintiffs seek preliminary and permanent injunctive relief to
  5   compel Defendants to comply with the Second Amendment as clarified by Bruen
  6   and California law by correcting the violations listed above.
  7       FIRST CLAIM FOR DECLARATORY AND INJUNCTIVE RELIEF
                        U.S. CONST. AMENDS. II, XIV
  8                        RIGHT TO BEAR ARMS
                               42 U.S.C. § 1983
  9         AGAINST DEFENDANTS LOS ANGELES COUNTY SHERIFF’S
             DEPARTMENT, SHERIFF ROBERT LUNA, AND DOES 1-10
 10
 11         124. Plaintiffs hereby re-allege and incorporate by reference the allegations
 12   in the foregoing paragraphs as if set forth fully herein.
 13         125. As described previously, LASD violated and continues to violate the
 14   rights of CCW permit applicants by taking over a year to process applications and
 15   by engaging in forbidden suitability determinations.
 16         126. As a result, Plaintiffs’ Second Amendment rights, as incorporated
 17   under the Fourteenth Amendment, as well as the rights of the associational
 18   Plaintiffs’ members and supporters, are violated.
 19         127. Defendants are propagating customs, policies, and practices that
 20   deprive or delay California residents, including Plaintiffs, of their constitutional
 21   right to bear arms outside the home for self-defense “in case of confrontation,” as
 22   guaranteed by the Second and Fourteenth Amendments.
 23         128. Defendants cannot meet their burden to justify these customs, policies,
 24   and practices that preclude Plaintiffs from exercising their enumerated rights.
 25
 26
 27         26
                Again, Plaintiffs do not concede that permitting itself is constitutional, as
      there is no broad and enduring historical tradition of government licensure to bear
 28   arms in public.
                                       32
                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS         Document 1 Filed 12/04/23       Page 33 of 41 Page ID
                                         #:33


  1             129. Plaintiffs are thus entitled to declaratory and injunctive relief against
  2   such unconstitutional customs, policies, and practices.
  3     SECOND CLAIM FOR DECLARATORY AND INJUNCTIVE RELIEF
                       U.S. CONST. AMENDS. II, XIV
  4                       RIGHT TO BEAR ARMS
                              42 U.S.C. § 1983
  5    AGAINST DEFENDANTS LA VERNE POLICE DEPARTMENT, LA VERNE
             CHIEF OF POLICE COLLEEN FLORES, AND DOES 1-10
  6
  7             130. Plaintiffs hereby re-allege and incorporate by reference the allegations
  8   in the foregoing paragraphs as if set forth fully herein.
  9             131. As described previously, LVPD has violated and continues to violate
 10   the rights of CCW permit applicants by charging nearly $600 in total fees (not
 11   including the cost of training, livescan, and psychological review) and by engaging
 12   in forbidden suitability determinations with its psychological examination
 13   requirement.
 14             132. As a result, Plaintiffs’ Second Amendment rights, as incorporated
 15   under the Fourteenth Amendment, as well as the rights of the associational
 16   Plaintiffs’ members and supporters, are violated.
 17             133. Defendants are thus propagating customs, policies, and practices that
 18   deprive or delay California residents, including Plaintiffs, of their constitutional
 19   right to bear arms outside the home for self-defense “in case of confrontation,” as
 20   guaranteed by the Second and Fourteenth Amendments.
 21             134. Defendants cannot satisfy their burden to justify these customs,
 22   policies, and practices that preclude Plaintiffs from exercising their enumerated
 23   rights.
 24             135. Plaintiffs are thus entitled to declaratory and injunctive relief against
 25   such unconstitutional customs, policies, and practices.
 26
 27
 28
                                       33
                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS       Document 1 Filed 12/04/23        Page 34 of 41 Page ID
                                       #:34


  1       THIRD CLAIM FOR DECLARATORY AND INJUNCTIVE RELIEF
                       U.S. CONST. AMENDS. II, XIV
  2                       RIGHT TO BEAR ARMS
                              42 U.S.C. § 1983
  3        AGAINST ATTORNEY GENERAL ROB BONTA, AND DOES 1-10
  4         136. Plaintiffs hereby re-allege and incorporate by reference the allegations
  5   in the foregoing paragraphs as if set forth fully herein.
  6         137. The Supreme Court has explained that permitting regimes which deny
  7   licenses based on a “perceived lack of need or suitability” are unconstitutional.
  8   Bruen, 142 S. Ct. at 2123.
  9         138. As described previously, California violates the right of CCW permit
 10   applicants by allowing issuing authorities to demand psychological exams at their
 11   discretion under California Penal Code Section 26190(f) (soon to be 26190(g)
 12   under SB2).
 13         139. California also refuses to recognize CCW permits issued by other
 14   states, whether they are held by residents or nonresidents. California also refuses to
 15   grant CCW permits to non-residents, thus providing no way for nonresidents to
 16   exercise their right to carry within its borders.
 17         140. As a result, Plaintiffs’ Second Amendment rights, as incorporated
 18   under the Fourteenth Amendment, as well as the rights of the associational
 19   Plaintiffs’ members and supporters, are violated.
 20         141. The Attorney General is thus enforcing laws that violate the
 21   constitutional right to bear arms outside the home for self-defense “in case of
 22   confrontation,” as guaranteed by the Second and Fourteenth Amendments.
 23         142. Plaintiffs are entitled to declaratory and injunctive relief against such
 24   unconstitutional laws, customs, policies, and practices.
 25      FOURTH CLAIM FOR DECLARATORY AND INJUNCTIVE RELIEF
               VIOLATIONS OF THE CALIFORNIA PENAL CODE
 26         AGAINST DEFENDANTS LOS ANGELES COUNTY SHERIFF’S
             DEPARTMENT, SHERIFF ROBERT LUNA, AND DOES 1-10
 27
 28         143.    Plaintiffs hereby re-allege and incorporate by reference the allegations
                                    34
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23         Page 35 of 41 Page ID
                                      #:35


  1   in the foregoing paragraphs as if set forth fully herein.
  2         144. LASD’s CCW permit process violates California Penal Code Section
  3   26205 by taking over a year to process permit applications.
  4         145. Additionally, Plaintiffs’ Second Amendment rights, as incorporated
  5   under the Fourteenth Amendment, as well as the rights of the associational
  6   Plaintiffs’ members and supporters, are violated.
  7         146. Defendants LASD and Sheriff Robert Luna are thus enforcing laws
  8   that violate the constitutional right to bear arms outside the home for self-defense
  9   “in case of confrontation,” as guaranteed by the Second and Fourteenth
 10   Amendments.
 11         147. Plaintiffs are thus entitled to declaratory and injunctive relief against
 12   these illegal customs, policies, and practices.
 13      FIFTH CLAIM FOR DECLARATORY AND INJUNCTIVE RELIEF
               VIOLATIONS OF THE CALIFORNIA PENAL CODE
 14    AGAINST DEFENDANTS LA VERNE POLICE DEPARTMENT, LA VERNE
              CHIEF OF POLICE COLLEEN FLORES, AND DOES 1-10
 15
 16         148.    Plaintiffs hereby re-allege and incorporate by reference the allegations
 17   in the foregoing paragraphs as if set forth fully herein.
 18         149. LVPD’s CCW permit process violates several portions of the
 19   California Penal Code.
 20         150. By inflating its own costs through the imposition of additional
 21   requirements beyond a simple DOJ background check and an interview with an
 22   applicant, LVPD charges more than its reasonable costs for permit processing and
 23   violates California Penal Code Section 26190(b)(1).
 24         151. By collecting the entirety of its fees at the time the application is
 25   submitted, LVPD violates California Penal Code Section 26190(b)(2).
 26         152. Additionally, Plaintiffs’ Second Amendment rights, as incorporated
 27   under the Fourteenth Amendment, as well as the rights of the associational
 28   Plaintiffs’ members and supporters, are violated.
                                    35
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23         Page 36 of 41 Page ID
                                      #:36


  1         153. The La Verne defendants are enforcing laws that violate the
  2   constitutional right to bear arms outside the home for self-defense “in case of
  3   confrontation,” as guaranteed by the Second and Fourteenth Amendments.
  4         154. Plaintiffs are thus entitled to declaratory and injunctive relief against
  5   these illegal customs, policies, and practices.
  6       SIXTH CLAIM FOR DECLARATORY AND INJUNCTIVE RELIEF
                         U.S. CONST. AMEND. XIV
  7                        EQUAL PROTECTION
                               42 U.S.C. § 1983
  8         AGAINST ATTORNEY GENERAL ROB BONTA, AND DOES 1-10
  9         155. Plaintiffs hereby re-allege and incorporate by reference the allegations
 10   in the foregoing paragraphs as if set forth fully herein.
 11         156. Plaintiff Steven Hoover is a Florida resident. He does not have
 12   residency in California, and thus cannot obtain a California identification card or
 13   driver’s license.
 14         157. Nevertheless, he often visits California and desires to be able to
 15   lawfully conceal-carry a firearm when visiting the State.
 16         158. He applied to the Monterey County Sheriff for a CCW permit but the
 17   Sheriff rejected his application because he is not a California resident.
 18         159. Indeed, California law does not allow a resident of another state to
 19   apply for and obtain a CCW permit whatsoever.
 20         160. This policy violates Plaintiff Hoover’s right to equal protection of the
 21   law as guaranteed and protected under the Equal Protection Clause of the
 22   Fourteenth Amendment to the United States Constitution because it favors
 23   California residents and discriminates against non-California residents like Hoover.
 24         161. This policy is especially egregious because here California’s policy
 25   prevents Plaintiff Hoover from exercising the constitutionally protected right to be
 26   armed in public recognized in Bruen. It also violates the constitutionally protected
 27   right to travel under the Equal Protection Clause of the Fourteenth Amendment, and
 28   forces Hoover to choose between exercising his Second Amendment right to be
                                    36
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23         Page 37 of 41 Page ID
                                      #:37


  1   armed and his constitutional right to travel. Harper v. Virginia State Bd. of
  2   Elections, 383 U.S. 663 (1966); United States v. Guest, 383 U.S. 745 (1966);
  3   Shapiro v. Thompson, 394 U.S. 618 (1969); and Zobel v. Williams, 457 U.S. 55
  4   (1981).
  5     SEVENTH CLAIM FOR DECLARATORY AND INJUNCTIVE RELIEF
                         U.S. CONST. ART. IV, § 2
  6               PRIVILEGES AND IMMUNITIES CLAUSE
                            42 U.S.C. § 1983
  7        AGAINST ATTORNEY GENERAL ROB BONTA, AND DOES 1-10
  8         162. Plaintiffs hereby re-allege and incorporate by reference the allegations
  9   in the foregoing paragraphs as if set forth fully herein.
 10         163. The Privileges and Immunities Clause of Article IV, § 2 of the United
 11   States Constitution provides that “the Citizens of each State shall be entitled to all
 12   Privileges and Immunities of Citizens in the several states.” This Constitutional
 13   provision removes “from the citizens of each State the disabilities of alienage in the
 14   other States.” Saenz v. Roe, 526 U.S. 489 (1999) (quoting Paul v. Virginia, 8 Wall.
 15   168, 180 (1868)). The Privileges and Immunities Clause bars discrimination against
 16   citizens of other states based on their status as a citizen of another state. Toomer v.
 17   Witsell, 334 U.S. 385 (1948).
 18         164. Plaintiff Steven Hoover is a Florida resident who desires to lawfully
 19   conceal-carry a firearm when visiting California.
 20         165. He does not have residency in California, and thus cannot obtain a
 21   California identification card or driver’s license.
 22         166.    Hoover applied for a CCW with the Monterey County Sheriff but was
 23   denied because of his Florida Residency.
 24         167. California’s law of refusing to accept CCW applications from citizens
 25   of other states, like Plaintiff Hoover, violates this constitutional provision because
 26   California’s policy discriminates against out of state residents solely because they
 27   are out-of-state residents. This policy does not even offer a non-resident a chance at
 28   applying for a permit. This policy denies a non-resident the ability to exercise the
                                      37
                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23        Page 38 of 41 Page ID
                                      #:38


  1   enumerated right to be armed in public, and thus violates the privilege and
  2   immunities clause.
  3      EIGHTH CLAIM FOR DECLARATORY AND INJUNCTIVE RELIEF
                      U.S. CONST. AMENDMENT XIV
  4                       DUE PROCESS OF LAW
                               42 U.S.C. § 1983
  5        AGAINST ATTORNEY GENERAL ROB BONTA, AND DOES 1-10
  6         168. The psychological testing component of California’s CCW permit
  7   regime violates both the substantive and procedural due process of law mandate set
  8   forth in Amendment XIV, Sec. 1, of the U.S. Constitution.
  9         169. California’s law violates substantive due process because it arbitrarily
 10   and capriciously imposes a presumption of psychological unfitness to exercise a
 11   fundamental right, and requires the individuals seeking to exercise that fundamental
 12   right to bear the burden of proving a negative. Furthermore, by presuming that all
 13   CCW applicants should be subject to psychological screening, the requirement is
 14   overinclusive. Furthermore this state law, by allowing individual issuing authorities
 15   to require psychological testing or not, makes the law arbitrary and underinclusive.
 16   Furthermore, by failing to legislate objective standards for psychological testing,
 17   the law empowers government bureaucrats to exercise subjective discretion in
 18   regulating a fundamental right.
 19         170. California Penal Code Section 26190(f) (soon to be 26190(g) under
 20   SB2) violates procedural due process rights because it impermissibly shifts the
 21   burden of proof of a constitutionally significant fact to an individual seeking to
 22   exercise a fundamental right. Furthermore, the psychological testing regime does
 23   not permit an adversarial process to adjudicate the scientific validity of the
 24   underlying test or the validity of the psychologists’ opinions and conclusions.
 25   Furthermore, there is no provision in this law for a right to appeal the results of the
 26   psychological testing. Furthermore, there is no provision in this law to discover or
 27   test the impartiality of the personnel administering the psychological testing.
 28   Furthermore, there is no provision in this law allowing the CCW applicant to
                                    38
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS        Document 1 Filed 12/04/23        Page 39 of 41 Page ID
                                        #:39


  1   submit evidence from their own medical expert to rebut the government’s evidence,
  2   on a crucial question that might result in denial of a constitutional right.
  3         171. Finally, the CCW psychological testing requirement contradicts
  4   existing law in California that already regulates firearms possession in the context
  5   of mental health holds and mental health adjudications. See California Welfare and
  6   Institutions Code §§ 5150, 5250, 8100-8108.
  7                                           PRAYER
  8         WHEREFORE, Plaintiffs request that judgment be entered in their favor and
  9   against Defendants as follows:
 10         1.       A declaration that LASD taking over a year to process permits violates
 11   the constitutional right to carry;
 12         2.       A declaration that these delays also violate California Penal Code
 13   Section 26205;
 14         3.       A declaration that LASD’s denial of Plaintiff Velasquez’s CCW
 15   permit renewal application violates his constitutional right to carry;
 16         4.       A declaration that LVPD charging nearly $1,000 for CCW permits
 17   violates the constitutional right to carry;
 18         5.       A declaration that, by inflating its own costs through the imposition of
 19   additional requirements beyond a simple DOJ background check and an interview
 20   with an applicant, LVPD charges more than its reasonable costs for permit
 21   processing and violates California Penal Code Section 26190(b)(1);
 22         6.       A declaration that, by collecting the entirety of its fees at the time the
 23   application is submitted, LVPD violates California Penal Code Section
 24   26190(b)(2).
 25         7.       A declaration that LVPD’s psychological examination requirement
 26   violates Bruen’s prohibition on using “suitability” criteria when it comes to Second
 27   Amendment rights.
 28
                                    39
              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS       Document 1 Filed 12/04/23      Page 40 of 41 Page ID
                                       #:40


  1          8.      A declaration that California Penal Code Section 26190(f) (soon to be
  2   revised to section 26190(g)), in allowing psychological examinations, is
  3   unconstitutional as a constitutionally-forbidden suitability determination;
  4          9.      A declaration that the Attorney General must honor CCW permits
  5   issued by other states, whether the permit holder is a resident of California or not,
  6   and/or a declaration that the Attorney General must permit residents of other states
  7   to acquire CCW permits in California;
  8          10.     An order preliminarily and permanently enjoining all Defendants and
  9   all other officers, agents, servants, employees, and persons under the authority of
 10   the State, from enforcing California Penal Code Section 26190(f);
 11          11.     An order preliminarily and permanently enjoining Los Angeles LASD,
 12   and Sheriff Luna in his official capacity, from refusing to process or issue a CCW
 13   Permit to any qualified applicant 120 days after receipt of such applicant’s initial
 14   application for a new license or a license renewal, or 30 days after receipt of the
 15   applicant’s criminal background check from the Department of Justice, whichever
 16   is later;
 17          12.     An order preliminarily and permanently enjoining LASD, and Sheriff
 18   Luna in his official capacity, from requiring more information from applicants in
 19   the CCW permitting process that are not based on “narrow, objective, and definite”
 20   standards;
 21          13.     An order preliminarily and permanently enjoining LVPD and La
 22   Verne Chief of Police Colleen Flores in her official capacity, from charging
 23   applicants nearly $1,000 for processing CCW Permit applications;
 24          14.     An order permanently enjoining all Defendants and all other officers,
 25   agents, servants, employees, and persons under the authority of the State, from
 26   enforcing all laws prohibiting concealed carry if the person accused of that crime
 27   has an otherwise-valid CCW permit issued by any state, and is not otherwise
 28   prohibited from owning firearms;
                                        40
                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:23-cv-10169-SPG-ADS      Document 1 Filed 12/04/23       Page 41 of 41 Page ID
                                      #:41


  1         15.    An order declaring that California’s policy of not accepting
  2   applications or issuing permits to out of state residents violates the Equal Protection
  3   Clause;
  4         16.    An order declaring that California’s policy of not accepting
  5   applications or issuing permits to out of state residents violates the Privileges and
  6   Immunities Clause;
  7         17.    Costs of suit, including attorney’s fees and costs pursuant to 42 U.S.C.
  8   § 1988;
  9         18.    Nominal damages; and
 10         19.    All other relief the court deems appropriate.
 11   Respectfully Submitted,
 12   Dated: December 4, 2023                 MICHEL & ASSOCIATES, P.C.
 13
                                              /s/ C.D. Michel
 14                                           C.D. Michel
                                              Counsel for Plaintiffs
 15
      Dated: December 4, 2023                LAW OFFICES OF DON KILMER
 16
                                             /s/ Don Kilmer
 17                                          Don Kilmer
                                             Counsel for Plaintiff The Second Amendment
 18                                          Foundation
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                      41
                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
